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                    IN THE UNITED STATES COURT
                  FOR THE DISTRICT OF PUERTO RICO




     EON CORP. IP HOLDINGS,
     LLC,

                 Plaintiff,
                                      CIV. NO.: 11-1555(FAB/SCC)
                   v.

     AT&T MOBILITY LLC, ET AL.,

                 Defendants.




                               ORDER

       By a request for production dated June 12, 2012, Plaintiff
    EON Corp. sought from the AT&T defendants (collectively,
    “AT&T”) information regarding indemnification of AT&T by
    third parties. See Docket No. 179-2, at 4. AT&T turned over the
    actual indemnification agreements that it had entered into, see
    Docket No. 179, at 1, but refused to turn over any of the related
    correspondence or documents. See Docket No. 179-2, at 4. EON
    filed a motion to compel production of the documents. Docket
    No. 179.
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       AT&T argues that it should not be made to produce the
    indemnification-related documents, first because they are
    irrelevant, and, second, because they are attorney work
    product protected by the common interest privilege. In
    essence, AT&T’s opposition to the motion to compel suggests
    that the documents are primarily discussions and negotiations
    between AT&T’s counsel and counsel for various third parties.
    According to AT&T, it is “common practice” in patent suits
    “for defendants to seek indemnification from the suppliers of
    the accused products.” Docket No. 187, at 7. The subject matter
    of these communications might include “evaluat[ions of] the
    infringement allegations, assess[ments of] the validity of the
    patents at issues, [and] analy[sis of] potential damages.”
    Id. AT&T argues that documents of this type are attorney work
    product. See In re Grand Jury Subpoena, 274 F.3d 563, 574 (1st
    Cir. 2001).
       We believe, first of all, that these documents are relevant.
    As EON has suggested, the documents may, for example, shed
    light on AT&T’s business relationships with its suppliers and
    whether third parties are contributory or joint infringers. See
    Docket No. 190-1, at 4–5. It may also help to identify other
    entities with knowledge of discoverable material. See id. at 5.
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    And in any case, AT&T, by only stating vaguely what the
    documents contain, has failed to carry its burden to prove lack
    of relevance. See Vazquez-Fernandez v. Cambridge Coll., Inc., 269
    F.R.D. 150, 155 (D.P.R. 2010).
       As to AT&T’s contention that the common interest doctrine
    applies, we are unable to make a generalized ruling on that
    subject but can offer some guidance. AT&T is correct that an
    indemnification agreement can give rise to a sufficient commu-
    nity of interest to invoke the doctrine. Thus, communications
    that post-date the signing of an indemnification agreement
    need not be disclosed, so long as those communications were
    between AT&T’s and the third parties’ counsel. See In re
    Teleglobe Commc’ns Corp., 493 F.3d 345, 364 (3d Cir. 2007) (“[T]o
    be eligible for continued protection, the communication must
    be shared with the attorney of the member of the community of
    interest.”); see also EDNA S. EPSTEIN, 1 THE ATTORNEY CLIENT-
    PRIVILEGE AND THE WORK-PRODUCT DOCTRINE 286 (2007)
    (explaining that the doctrine is designed “to allow a pooling of
    resources in preparing [a] defense by allowing an exchange of
    information between the attorneys” (emphasis added)). Like-
    wise, communications that post-date the effective date of a
    joint-defense agreement need not be disclosed. See EPSTEIN, 1
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    ATTORNEY CLIENT PRIVILEGE 304 (explaining that the best
    practice is to “enter into a formal agreement stipulating the
    privileged materials will be shared because of the existence of
    some community of interest and that the parties recognize that
    the shared materials should be kept confidential”). But see
    United States v. Stepney, 246 F. Supp. 2d 1069, 1079 n.5 (N.D.
    Cal. 2003) (“No written agreement is generally required to
    invoke the joint defense privilege.”).1 On the other hand, we do
    not believe that demands for indemnification can be covered
    by the doctrine because they, by their very nature, show that
    an agreement to mount a joint defense does not yet exist. See
    United States v. Bay State Ambulance & Hosp. Rental Serv. Inc.,
    874 F.2d 20, 28 (1st Cir. 1989) (holding that the communication
    must have been made “in the course of a joint defense effort”
    (emphasis added)); United States v. Schwimmer, 892 F.2d 237,
    243 (2d Cir. 1989) (“Only those communications made in the
    course of an ongoing common enterprise and intended to
    further the enterprise are protected.”).



    1.   AT&T, as the party seeking to invoke the doctrine, has the burden to
         prove that the communications were made in the course of a joint
         defense effort. See In re Bevill, Bresler, & Schulman Asset Mgmt. Corp., 805
         F.2d 120, 126 (3d Cir. 1986).
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       Other communications—those that post-date a demand
    letter and pre-date an actual agreement—are more difficult to
    classify sight unseen. In any case, the parties at this point
    should have exchanged privilege logs and should be ready to
    discuss specific documents. See Amended Case Management
    Order, Docket No. 110 (setting September 24, 2012, as the date
    to exchange privilege logs). Bearing in mind the Court’s view
    of the law above, the parties should promptly meet again to
    discuss the specific documents as described in AT&T’s logs.
    We are confident that much of this dispute can be dealt with in
    such a manner. After that meeting, any documents with regard
    to which there remains a dispute should be filed with the court
    for in camera review as required by the Discovery Order,
    Docket No. 111.
       IT IS SO ORDERED.
       In San Juan, Puerto Rico, this 24th day of October, 2012.
                   S/ SILVIA CARREÑO-COLL
                   UNITED STATES MAGISTRATE JUDGE
